98 F.3d 1336
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Richard KRAFT, a/k/a Cheese, Defendant-Appellant.
    No. 96-6987.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 24, 1996.Decided Oct. 9, 1996.
    
      Richard Kraft, Appellant Pro Se.  Daniel W. Dickinson, Jr., OFFICE OF THE UNITED STATES ATTORNEY, Wheeling, West Virginia, for Appellee.
      N.D.W.Va.
      DISMISSED.
      Before LUTTIG, WILLIAMS, and MOTZ, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying his motion for relief under 28 U.S.C. § 2255 (1994), amended by Antiterrorism and Effective Death Penalty Act of 1996, Pub.L. No. 104-132, 110 Stat. 1214.   We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we deny a certificate of appealability and dismiss on the reasoning of the district court.  United States v. Kraft, Nos.  CR-92-215;  CA-94-185 (N.D.W.Va. May 20, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    